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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 WESLEY I. PURKEY,                                    )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )       No. 2:19-cv-00517-JMS-DLP
                                                      )
 WILLIAM BARR, et al.                                 )
                                                      )
                               Defendants.            )

                    Order Denying July 14, 2020 Motion to Stay Execution

        Plaintiff Wesley Purkey, a federal inmate who has been sentenced to death, brought this

 civil rights action alleging that the defendants selected him for execution in violation of various

 constitutional and statutory provisions. Dkt. 1. Mr. Purkey later filed a motion for preliminary

 injunction seeking to stay his execution. Dkt. 52. The Court appointed death penalty counsel, who

 promptly moved to stay proceedings on the motion for preliminary injunction. See dkt. 71.

        Separately, Mr. Purkey is litigating a civil rights claim in the United States District Court

 for the District of Columbia in which counsel allege that Mr. Purkey is not competent to be

 executed under Ford v. Wainwright, 477 U.S. 399 (1986). Purkey v. Barr, No. 1:19-cv-3570-TSC

 (D.D.C.).

        Now counsel have moved to stay Mr. Purkey's execution based on the possibility that the

 District of Columbia Ford claim will be dismissed based on the government's motion arguing that

 a federal inmate's Ford claim must be brought under 28 U.S.C. § 2241. Dkts. 80, 81.

        The motion to stay, dkt. [80], is denied. Mr. Purkey may not add a Ford claim onto this

 unrelated civil rights action. If he is directed to bring a Ford claim in a § 2241 petition in this
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 Court, then he must file a Ford claim in a § 2241 petition in this Court. The instant motion must

 be brought in that action, when and if it is filed.

         The Court understands counsel's desire to avoid the frantic pace of recent related litigation.

 But there is no Ford claim pending in the instant action.

         IT IS SO ORDERED.



                 Date: 7/14/2020




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